CASE 0:21-cv-01332-PJS-DTS Doc. 1-6 Filed 06/03/21 Page 1 of 4




   EXHIBIT 6
          CASE 0:21-cv-01332-PJS-DTS Doc. 1-6 Filed 06/03/21 Page 2 of 4

                                       The State of Texas

Elections Division                                                                      Phone: 512-463-5650
P.O. Box 12060                                                                            Fax: 512-475-281 l
Austin, Texas 78711-2060                                                       Dial 7-1-1 For Relay Services
www.sos.texas.gov                                                                    (800) 252-VOTE (8683)
                                            Ruth R. Hughs
                                           Secretary of State

  REPORT OF REVIEW OF DOMINION VOTING SYSTEMS DEMOCRACY SUITE 5.5-A

                                    PRELIMINARY STATEMENT

On October 2-3, 2019, Dominion Voting Systems ("Dominion" or the "Vendor") presented the
Democracy Suite 5.5-A system for examination and certification. The examination was conducted
in Austin, Texas. Pursuant to Sections 122.035(a) and (b) of the Texas Election Code, the Secretary
of State appointed the following examiners:

         1.       Mr.   Tom Watson, an expert in electronic data communication systems;
         2.       Mr.   Brian Mechler, an expert in electronic data communication systems;
         3.       Mr.   Brandon Hurley, an expert in election law and procedure; and
         4.       Mr.   Charles Pinney, an expert in election law and procedure.

Pursuant to Section 122.035(a), the Texas Attorney General appointed the following examiners:

         1.       Dr. Jim Sneeringer, an expert in electronic data communication systems; and
         2.       Mr. Ryan Vassar, an employee of the Texas Attorney General.

On October 2, 2019, Mr. Pinney, Mr. Mechler, and Dr. Sneeringer witnessed the installation of the
Democracy Suite 5.5-A software and firmware that the Office of the Texas Secretary of State (the
"Office") received directly from the Independent Testing Authority. The next day, Mr. Pinney
examined the accessibility components of the ImageCast X Ballot Marking Device.

On October 3, 2019, the Vendor demonstrated the Democracy Suite 5.5-A system and answered
questions presented by the examiners. Test ballots were then processed on each voting device. The
results were accumulated and later verified for accuracy by staff of the Secretary of State.

Examiner reports regarding the Democracy Suite 5.5-A system are attached hereto and incorporated
herein by this reference.

On December 27, 2019, pursuant to Section 122.0371 of the Texas Election Code, the Office held a
public hearing for interested persons to express views for or against the certification of the Democracy
Suite 5.5-A system.
         CASE 0:21-cv-01332-PJS-DTS Doc. 1-6 Filed 06/03/21 Page 3 of 4




                   BRIEF DESCRIPTION OF DEMOCRACY SUITE 5.5-A

The Democracy Suite 5.5-A system is an updated version of the Democracy Suite 5.5 system,
which was denied certification by the Office on June 20, 2019. The Democracy Suite 5.5-A
system includes certain software and hardware updates to the Suite 5.5 version.

Democracy Suite 5.5-A has been evaluated at an accredited independent voting system laboratory
for conformance to the 2005 Voluntary Voting System Guidelines (VVSG). Democracy Suite
5.5-A was certified by the Election Assistance Commission (EAC) on January 30, 2019.

The components of Democracy Suite 5.5-A are as follows:

          Component                     Version                            Description
 EMS - Election                      5.5.12.1           Election Management System
 Management System
 ADJ - Adjudication                  5.5.8.1

 ICC - ImageCast Central             5.5.3.0002         Central scanner

 ICX - ImageCast X BMD               5.5.10.30          Ballot marking device

 ICP - ImageCast Precinct            5.5.3-0002         Precinct scanner


                                                FINDINGS

The following are the findings, based on written evidence submitted by the Vendor in support of its
application for certification, oral evidence presented at the examination, and the findings of the voting
system examiners as set out in their written reports.

The examiner reports identified multiple hardware and software issues that preclude the Office of the
Texas Secretary of State from determining that the Democracy Suite 5.5-A system satisfies each of
the voting-system requirements set forth in the Texas Election Code. Specifically, the examiner
reports raise concerns about whether the Democracy Suite 5.5-A system is suitable for its intended
purpose; operates efficiently and accurately; and is safe from fraudulent or unauthorized
manipulation. Therefore, the Democracy Suite 5.5-A system and corresponding hardware devices do
not meet the standards for certification prescribed by Section 122.001 of the Texas Election Code.




                                                    2
        CASE 0:21-cv-01332-PJS-DTS Doc. 1-6 Filed 06/03/21 Page 4 of 4




                                       CONCLUSION

Accordingly, based upon the foregoing, I hereby deny certification of Dominion Voting Systems'
Democracy Suite 5.5-A system for use in Texas elections.


Signed under my hand and seal of office, this ~ d a y of½                2020.




                                           DEPUTY SECRETARY OF STATE




                                              3
